                                   UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF OREGON

In re                                        )
                                                         18-32288-pcm7
                                             ) Case No. _______________
Three J's Distributing, Inc.                 )        AMENDED
                                             ) REPORT OF AUCTIONEER
                                             )
Debtor(s)                                    )

       I, ____________________________________,
                 Brandon Hamilton of Iron Planet         the undersigned auctioneer, having sold property of the
estate on __________,
              08/22/19    do report, as required by the Bankruptcy Rules, that attached hereto are (1) lists of all
property sold, the amount received for each item or lot, and the name(s) and address(es) of the buyer(s) of each
item or lot; and (2) an explanation and sample of my advertising efforts.

        My authorized commission is calculated as follows:
   GENERAL PROPERTY                           GROSS SALE PRICE          COMMISSION %
      DESCRIPTION                             OF ALL PROPERTY            APPLICABLE           COMMISSION(S)
1. See attached report                        $                                              $
2.                                            $                                              $
3.                                            $                                              $
4.                                            $                                              $
5.                                            $                                              $
6.                                            $                                              $
7.                                            $_______________                               $_______________
       TOTALS:                                $                                              $          1,522.5

       Attached hereto are appropriate receipts or explanations of my expense requests. My authorized expenses
are calculated as follows:
                      DESCRIPTION                                                                     $ AMOUNT

See attached listing fees




                                                                                                 _______________
        TOTAL:                                                                               $            1,230.00

     I CERTIFY THAT all my commissions which total $_______________,
                                                                1,522.5       and all my expenses which total
$_______________, are within the terms set forth in the application and order for my appointment.
     1,230.00
       I FURTHER CERTIFY THAT in the above case I had no persons bidding on my behalf, directly or indirectly,
for the purchase of items auctioned and had no arrangement with the trustee apart from the terms of my
employment and no arrangement with the trustee or his attorney other than selling the items auctioned for the
highest available bid prices except for any items upon which the trustee may have placed a reserve minimum price
with respect to any item or items offered for sale.




        DATE: __________
                04/14/20                                                       /s/ Brandon Hamilton
                                                                        ________________________________
                                                                                     Auctioneer
753.52 (1/11/93)

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